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    EXHIBIT A
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From: Schoenhard, Paul
Sent: Tuesday, August 22, 2023 12:25 PM
To: 'Travis Manfredi' <tmanfredi@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>;
'Britt.Lovejoy@lw.com' <Britt.Lovejoy@lw.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Matthew Butterick
<mb@buttericklaw.com>; Christopher Young <cyoung@saverilawfirm.com>; adunning@cooley.com;
jlauter@cooley.com; mlemley@lex-lumina.com; Ghavi, Amir <Amir.Ghavi@friedfrank.com>; Jantzi, Nicole
<Nicole.Jantzi@friedfrank.com>; Keats, Michael <Michael.Keats@friedfrank.com>; jalvarezlopez@cooley.com;
Andrew.Gass@lw.com; Luke.Budiardjo@lw.com; Joe.Wetzel@lw.com; Michael.Rubin@lw.com; ALemay@cooley.com
Subject: RE: Andersen v. Stability AI et al.

Travis,

We disagree.

We are mindful of Judge Orrick’s order that the Stability Defendants continue to work with Plaintiffs to proceed with our
Rule 26 obligations, and we will continue to do so. The question is not, however, one of participation, but one of
timing. On this, too, Judge Orrick’s order is clear—our joint case management statement is due September 12. And
with the benefit of the draft you have provided, we will work with our client to provide responsive comments and to
insert appropriate additional language. I see no reason why will be unable to meet the Court’s deadline. (Regardless, in
the future, please be mindful that our clients are based in the UK; to the extent we are expected to present various joint
filings, sufficient time needs to be provided for us to consult with our clients.)

Relatedly, an item that we failed to discuss at our Rule 26(f) conference—bought out to have discussed—is the timing of
initial disclosures under Rule 26(a). We propose that Plaintiffs and the Stability Defendants exchange initial disclosures
on September 12, consistent with Judge Orrick’s deadline for the parties’ joint case management statement. To the
extent Judge Orrick intends to issue an order on the Stability Defendants’ motion to dismiss between now and then,
such order will enable the parties to tailor their disclosures appropriately to the scope of the case the judge intends to
permit to proceed. Please confirm.

Thank you.

Paul




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From: Travis Manfredi <tmanfredi@saverilawfirm.com>
Sent: Tuesday, August 22, 2023 11:49 AM
To: Schoenhard, Paul <Paul.Schoenhard@friedfrank.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>;
'Britt.Lovejoy@lw.com' <Britt.Lovejoy@lw.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Matthew Butterick
<mb@buttericklaw.com>; Christopher Young <cyoung@saverilawfirm.com>; adunning@cooley.com;
jlauter@cooley.com; mlemley@lex-lumina.com; Ghavi, Amir <Amir.Ghavi@friedfrank.com>; Jantzi, Nicole
<Nicole.Jantzi@friedfrank.com>; Keats, Michael <Michael.Keats@friedfrank.com>; jalvarezlopez@cooley.com;
Andrew.Gass@lw.com; Luke.Budiardjo@lw.com; Joe.Wetzel@lw.com; Michael.Rubin@lw.com; ALemay@cooley.com
Subject: RE: Andersen v. Stability AI et al.

[EXTERNAL]
Thank you, Paul.

While Judge Orrick’s order granting and denying the administrative motion to continue the CMC and attendant Rule 26
deadlines (ECF No. 95) may have excused Midjourney and DeviantArt from participating in a Rule 26(f) Report, the Court
ordered Plaintiffs and Stability AI to proceed with Rule 26 obligations. If all parties’ Rule 26 obligations were continued
to September 12, as you suggest, the language ordering Stability AI to proceed with the Rule 26 process would
otherwise be a nullity. There would have been no reason to distinguish between the Defendants.

Kind regards,
Travis
(they/them)

From: Schoenhard, Paul <Paul.Schoenhard@friedfrank.com>
Sent: Monday, August 21, 2023 11:42 AM
To: Travis Manfredi <tmanfredi@saverilawfirm.com>; Cadio Zirpoli <czirpoli@saverilawfirm.com>;
'Britt.Lovejoy@lw.com' <Britt.Lovejoy@lw.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Matthew Butterick
<mb@buttericklaw.com>; Christopher Young <cyoung@saverilawfirm.com>; adunning@cooley.com;
jlauter@cooley.com; mlemley@lex-lumina.com; Ghavi, Amir <Amir.Ghavi@friedfrank.com>; Jantzi, Nicole
<Nicole.Jantzi@friedfrank.com>; Keats, Michael <Michael.Keats@friedfrank.com>; jalvarezlopez@cooley.com;
Andrew.Gass@lw.com; Luke.Budiardjo@lw.com; Joe.Wetzel@lw.com; Michael.Rubin@lw.com; ALemay@cooley.com
Subject: RE: Andersen v. Stability AI et al.


Travis,

Thank you for sharing the draft. Regarding timing, however, I believe you are mistaken.

Pursuant to Judge Orrick’s August 8, 2023 order, the parties’ joint case management statement is due September 12,
2023. This is consistent with his general practices and with his Initial Case Management Order, ECF No. 5 at 2 n.**, in
which he ordered that the parties’ joint case management statement is due to be filed 7 days in advance of the case
management conference, unless ordered otherwise.

Please confirm you agree.

Thank you.

Paul


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Paul M. Schoenhard
Partner
Paul.Schoenhard@friedfrank.com | Tel: +1 202 639 7254

Fried, Frank, Harris, Shriver & Jacobson LLP
801 17th Street, NW, Washington, DC 20006
friedfrank.com

From: Travis Manfredi <tmanfredi@saverilawfirm.com>
Sent: Monday, August 21, 2023 2:20 PM
To: Cadio Zirpoli <czirpoli@saverilawfirm.com>; Schoenhard, Paul <Paul.Schoenhard@friedfrank.com>;
'Britt.Lovejoy@lw.com' <Britt.Lovejoy@lw.com>; Joseph Saveri <jsaveri@saverilawfirm.com>; Matthew Butterick
<mb@buttericklaw.com>; Christopher Young <cyoung@saverilawfirm.com>; adunning@cooley.com;
jlauter@cooley.com; mlemley@lex-lumina.com; Ghavi, Amir <Amir.Ghavi@friedfrank.com>; Jantzi, Nicole
<Nicole.Jantzi@friedfrank.com>; Keats, Michael <Michael.Keats@friedfrank.com>; jalvarezlopez@cooley.com;
Andrew.Gass@lw.com; Luke.Budiardjo@lw.com; Joe.Wetzel@lw.com; Michael.Rubin@lw.com; ALemay@cooley.com
Subject: RE: Andersen v. Stability AI et al.

[EXTERNAL]
Dear Counsel:

Attached please find a draft Rule 26(f) Report regarding our August 8 conference. Per rule 26(f)(2), it is due tomorrow.
Please provide your additions and edits by 10am tomorrow (August 22) to allow time to discuss, if needed, and to file.
Thank you.

Kind regards,
Travis
(they/them)




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